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UNITED STATES DISTRICT COURT                                            USDC SDNY
SOUTHERN DISTRICT OF NEW YORK                                           DOCUMENT
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 MICHAEL KANE, WILLIAM CASTRO,                                  :       DOC #:
 MARGARET CHU, HEATHER CLARK,                                   :       DATE FILED: 9/23/2021
 STEPHANIE DI CAPUA, ROBERT                                     :
 GLADDING, NWAKAEGO NWAIFEJOKWU, :
 INGRID ROMERO, TRINIDAD SMITH,                                 :      21-cv-7863 (VEC)
 AMARYLLIS RUIZ-TORO,                                           :
                                              Plaintiffs,       :     NOTICE OF INITIAL
                            -against-                           :   PRETRIAL CONFERENCE
                                                                :
 BILL DE BLASIO, IN HIS OFFICIAL                                :
 CAPACITY AS MAYOR OF THE CITY OF                               :
 NEW YORK; DAVID CHOKSHI, IN HIS                                :
 OFFICIAL CAPACITY OF HEALTH                                    :
 COMMISSIONER OF THE CITY OF NEW                                :
 YORK; NEW YORK CITY DEPARTMENT OF :
 EDUCATION,                                                     :
                                              Defendants. :
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VALERIE CAPRONI, United States District Judge:

        In light of the COVID-19 situation, the Court will conduct the Initial Pretrial Conference

(“IPTC”) in accordance with Rule 16 of the Federal Rules of Civil Procedure on November 12,

2021 at 2:00 p.m. by teleconference. At the scheduled time, counsel for all parties should call

888-363-4749, Access code 3121171#, Security code 7863. Counsel should submit their

proposed case management plan and joint letter as outlined below. In their joint letter, the

parties should indicate whether they believe a Rule 16 conference is unnecessary and ask that

their proposed Case Management Plan simply be so ordered; or whether they believe a

conference would be helpful and have no objection to proceeding by teleconference; or whether

they believe a conference would be helpful and request it be adjourned until such time as it can

be safely held in person. If the parties prefer an in-person conference, they should propose three
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mutually-agreed upon Fridays for the conference, although the Court does not guarantee it will

honor the parties’ preferred date.

        1.      Pursuant to section 1.C of the Court’s Individual Practices in Civil Cases, requests

for adjournment of the IPTC or any other conference must be made in writing at least 48 hours

prior to the scheduled conference. The request must state (1) the reason for the proposed

adjournment; (2) the original date of the conference; (3) the number of previous requests for

adjournment; (4) whether the other party or parties consent and, if not, the reason given for

refusing consent; and (5) proposed alternative dates. This Court encourages plaintiffs to serve

defendants promptly. Requests for adjournment of the IPTC will not necessarily be granted on

the ground that one or more Defendants have not been served or answered prior to the scheduled

IPTC.

        2.      The parties are directed to submit a joint letter of no more than five pages by

November 4, 2021, addressing the following in separate paragraphs: (1) a brief description of

the case, including the factual and legal bases for the claim(s) and defense(s); (2) any

contemplated motions; (3) the basis for subject matter jurisdiction; and (4) the prospect for

settlement.

        3.      If this case involves claims that arise under the Fair Labor Standards Act

(“FLSA”), the joint letter must indicate whether the Plaintiff(s) intend to move for certification

of a collective and whether the Defendant(s) intend to object to such certification. If there will

be a disputed motion for a collective, the Court will likely cancel the IPTC, stay discovery, and

set a briefing schedule for the motion.

        4.      The parties are directed to consult the undersigned’s Individual Practices in Civil

Cases and to confer on a Civil Case Management Plan and Scheduling Order. The Individual

Practices and Civil Case Management Plan may be found on the Court’s website:

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https://nysd.uscourts.gov/hon-valerie-e-caproni. The parties must submit the jointly proposed

Plan to the Court with their joint letter.

        5.      Three days before the date of the IPTC, counsel for all parties are required to

register as filing users in accordance with the Procedures of Electronic Case Filing and file a

Notice of Appearance.

        6.      Plaintiff’s counsel, or the defendant’s counsel in removed cases, is responsible for

distributing copies of this Notice to all parties.

SO ORDERED.
                                                          ____
                                                            ________________________
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                                                          ________________________
Date: September 23, 2021                                                CAPRON
                                                            VALERIE CAPRONI       NI
      New York, New York                                   United States District Judge




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